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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

STATE OF NEW YORK, et al.,
Plaintiffs, Civil Action No. 1:18-cv-02921-JMF

NEW YORK IMMIGRATION
COALITION, et al.,

Consolidated Plaintiffs

Vv.

UNITED STATES DEPARTMENT OF
COMMERCE, et al.,

Defendants.

 

 

SUPPLEMENTAL DECLARATION OF STEVEN K. CHOI

I, Steven K. Choi, pursuant to the provisions of 28 U.S.C. § 1746, declare under penalty
of perjury that the foregoing is true and correct:

1. As explained in my October 26, 2018 Declaration, I am the Executive Director of
the New York Immigration Coalition (“NYIC”). In that capacity, I am responsible in part for
NYIC’s education and outreach efforts around the 2020 Decennial Census. I am also one of the
NYIC executives responsible for the organization’s budgeting, fundraising, and policy priorities.
I have been Executive Director of NYIC for over five years.

2. All of the statements made in my October 26 Declaration and in this Declaration
are made based on my personal knowledge, acquired after more than five years as Executive
Director of NYIC. During that time period, | have familiarized myself with NYIC’s internal

records and processes; our staff and their responsibilities; our programs and program areas; our
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member organizations including their missions, the communities they serve, and their
participation in activities with NYIC.

3. As Executive Director of NYIC, I have spent significant time traveling around
New York State and meeting with both our member organizations and the immigrant
communities that we serve. Through this process, I have familiarized myself with prevailing
views in the community concerning a number of issues, including the Trump Administration’s
treatment of immigrant communities and immigration-related policies, and fears in immigrant
community about the policies of this Administration. As part of this process, I have gained
personal knowledge about the prevailing feeling of fear among immigrant communities in New
York State concerning the Trump Administration and, specifically, the decision to add a
citizenship question to the 2020 Decennial Census and potential use of the information gleaned
from this question. I have also been working with immigrant communities in New York in one
form or another since 1999 and have developed a thorough understanding of prevailing views in
the communities I’ve worked with.

4. My statements concerning the fears of members of New York’s immigrant
community concerning the citizenship question and its effect on their willingness to answer the
Decennial Census therefore reflect my knowledge as both the leader of NYIC and a leader in
New York’s immigrant community, rather than a restatement of any particular individual’s
views. Similarly, in expressing my views about the likely effect of the citizenship question on
New York’s immigrant community, I do not intend to offer any specific predictions about non-
response rate or percentage undercount, but merely my observations based on my knowledge as

a community leader and my work as NYIC Executive Director.
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5. I have also been extensively and personally involved in the research,
development, and implementation of NYIC’s Census education and outreach programs,
including the organization’s work in the New York Counts 2020 coalition. Through that work as
well as my work in previous Census cycles, I have gained familiarity with the importance of data
gathered from the Decennial Census in apportioning political representation and the allocation of
some government funding sources. Because NYIC is driven to address the concerns of its
members and the communities they serve in the work that we do, I have also familiarized myself
with how those organizations and communities will be impacted by an undercount. Issues
related to the Census have been an important part of my work with immigrant communities for
three Decennial Census cycles now.

6. My observations in Paragraph 6 of the October 26 Declaration about the Census-
guided funding programs in which NYIC member organizations participate is based on my work
in the research, development, and implementation of NYIC’s Census education and outreach
programs, including the organization’s work in the New York Counts 2020 coalition, as well as
my regular and direct involvement with our member organizations, and in particular our Board
of Directors and Immigrant Leaders Council.

7. Regarding statements made in Paragraph 7 of my October 26 Declaration, my
knowledge that data from the Decennial Census provides the basis for apportioning political
representation at the federal, state, and local levels is based on my work in the research,
development, and implementation of NYIC’s Census education and outreach programs,
including the organization’s work in the New York Counts 2020 coalition, which are high
priority programs for NYIC. In addition, my knowledge that an undercount for immigrant

communities of color under the Decennial Census would unduly harm our members’ level of

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political representation at all levels of government is also based on my participation in and
management of NYIC’s Census-related work, my past Census work, as well as my familiarity
with our member organizations and the communities we serve.

8. Regarding statements made in Paragraph 9 of my October 26 Declaration, I am
familiar with NYIC’s activities during the 2010 Decennial Census cycle through my work in the
process of researching, developing, and implementing NYIC’s education and outreach for the
2020 Decennial Census cycle and also my work on the 2010 Decennial Census cycle for one of
NYIC’s member organizations, MinKwon Center for Community Action.

9. Regarding statements made in paragraph 14 of my October 26 Declaration, my
observation that New York immigrant communities’ heightened fear of interacting with
government workers has increased even further due to the decision to add the citizenship
question is based on knowledge that I have gained in the course of developing, implementing,
and supervising NYIC’s Census education and outreach work with its members and the
communities they serve, including NYIC’s work with the New York Counts 2020 coalition, as
well as my extensive contact with immigrant communities throughout New York as Executive
Director of NYIC and as a leader in New York’s immigrant community. This body of
knowledge, as well as my engagement with immigration policy as Executive Director of NYIC,
also supports my statements about the intrusiveness of the citizenship question into immigrant
communities and the hostility of the Trump Administration towards those communities.

10. Regarding statements made in paragraph 15 of my October 26 Declaration, my
observation that NYIC has faced, and will continue to face, a more difficult Census-response
environment due to New York immigrant communities’ heightened fear of interacting with

government workers because of the addition of the citizenship question is based on based on my
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research of NYIC’s past Census efforts for developing and implementing NYIC’s 2020 Census
activities, my work with MinKwon during the 2010 Decennial Census cycle, my experience in
developing NYIC’s Census work before the decision to add a citizenship question, as well as my
participation and supervision in NYIC’s extensive Census work since the citizenship question
was announced. Census education and outreach programs for immigrant communities for the
2020 Decennial Census have been on NYIC’s policy agenda since at least the middle of 2017.

11. Regarding statements made in paragraph 22 of my October 26 Declaration, my
statements about information I have received from NYIC staff, including Vice-President of
Policy Betsy Plum, regarding the concerns of NYIC member organizations and the communities
we serve illustrate part of the basis for my decisions as Executive Director in authorizing NYIC’s
increased investment in Census education and outreach work. These decisions were also
informed by my own work and observations in working with NYIC staff and member
organizations—in particular, our Board of Directors and Immigrant Leaders Council— in
researching, developing, and implementing our education and outreach programs for the 2020
Decennial Census cycle, as well as my interactions with immigrant communities in my role as a
community leader. This body of knowledge also informs my understanding that immigrant
communities are color are reluctant to participate in the Census and are concerned about the
intrusion into their privacy that may result from the publication of data derived from the
citizenship question.

12. Regarding statements made in paragraph 23 of my October 26 Declaration, my
statements that about the effect of any undercount of immigrant communities is based on my
participation and supervision of the research, development, and implementation of NYIC’s

Census education and outreach programs, through which I have gained an understanding of the
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role of Census data in the apportionment of political representation and the allocation of
government funding. Again, in expressing my views about the likely effect of the citizenship
question on New York’s immigrant community, I do not intend to offer any specific predictions
about non-response rate or percentage undercount, but only my observations based on my
knowledge as a community leader and my work as NYIC Executive Director, and my

participation and supervision of our extensive education and outreach efforts for the 2020

Decennial Census.
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I declare under penalty of perjury that the foregoing is true and correct.

Executed: November 2, 2018

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Steven K. Choi
